AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No.0 1-
      Target Devices 1 & 2, Currently in Law                                )
   Enforcement Custody, as Further Described in                             )
                  Attachment A                                              )

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To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                         Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  See Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




        YOU ARE COMMANDED to execute this warrant on or before                               (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                        Hon. Nancy Joseph                    .
                                                                                                  (United States Magistrate Judge)

     ✔ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
     u
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for                                 ✔ until, the facts justifying,
                   days (not to exceed 30) u                        ying,
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                                                                            h                                  09/03/2024
                                                                                                               09/03/20                .


Date and time issued:#DP
                                                                                                          JJudge’s
                                                                                                            udge’s si
                                                                                                                   signature
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City and state: Milwaukee, WI                                                         Honorable Nancy Joseph, U.S. Magistrate Judge
                                                                                                        Printed name and title
                          Case 2:24-mj-00812-NJ                    Filed 03/07/24     Page 1 of 23          Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                          Case 2:24-mj-00812-NJ                     Filed 03/07/24       Page 2 of 23        Document 1
                                    ATTACHMENT A

     The properties to be searched are as follows:

            a. Apple iPhone 15 Pro - IMEI: 352400477209551, hereinafter, TARGET
               DEVICE 1; and

            b. Apple iPhone 15 Pro – IMEI: 354070966587706, hereinafter, TARGET
               DEVICE 2.

     TARGET DEVICES 1 and 2, or the TARGET DEVICES, are currently located

within the custody of Kenosha County Sheriff’s Department, located at 1000 55th Street

#1, Kenosha, WI.

     This warrant authorizes the forensic examination of the TARGET DEVICES for

the purpose of identifying the electronically stored information described in

Attachment B.




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                                        ATTACHMENT B

       1.       All records on the TARGET DEVICES described in Attachment A that

relate to violations of 21 U.S.C. §§ 841 and 846, and involve Rosendo HEREDIA, from

2014 – Present, including, but not limited to:

            a. Lists of customers and related identifying information:

            b. Types, amounts, and prices of drugs and firearms trafficked as well as
               dates, places, and amounts of specific transactions;

            c. Any information related to co-conspirators and sources of drugs and
               firearms (including names, addresses, phone numbers, or any other
               identifying information);

            d. Any information recording schedule or travel;

            e. All bank records, checks, credit card bills, account information, and other
               financial records;

            f. Photographs and/or videos depicting possession of drugs and firearms;

            g. Any evidence related to either the ownership, purchase, or possession of
               drugs and firearms;

            h. Records of Internet activity, including browser history, search terms that
               the user entered into any Internet search engine, and records of user-typed
               web addresses: and

            i. All data, communications, information, and records, in whatever form, that
               have any tendency to establish the actual or intended physical location of
               its user, or that of any of their associates involved in criminal activity, as
               well as the physical location of the TARGET DEVICES;

       2.       Evidence of user attribution showing who used or owned the TARGET

DEVICES at the time the things described in the warrant were created, edited, or

deleted, such as logs, phonebooks, saved usernames and passwords, documents, and

browsing history;

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      3.     As used above, the terms “records” and “information” include all of the

foregoing items of evidence in whatever form and by whatever means they may have

been created or stored, including any form of computer or electronic storage (such as

flash memory or other media that can store data) and any photographic form.

             This warrant authorizes a review of electronic storage media and

electronically stored information seized or copied pursuant to this warrant in order to

locate evidence, fruits, and instrumentalities described in this warrant. The review of

this electronic data may be conducted by any government personnel assisting the

investigation, who may include, in addition to law enforcement officers and agents,

attorneys for the government, attorney support staff, and technical experts. Pursuant to

this warrant, the FBI may deliver a complete copy of the seized or copied electronic data

to the custody and control of attorneys for the government and their support staff for

their independent review.




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       AFFIDAVID IN SUPPORT OF AN APPLICATION UNDER RULE 41 FOR A
                   WARRANT TO SEARCH AND SEIZE

      I, James Buck, being first duly sworn, hereby depose and state as follows:

                          INTRODUCTION AND BACKGROUND

      1.     I make this affidavit in support of an application for a search warrant under

Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c) for a search warrant

authorizing the examination of property – electronic devices – which are currently in law

enforcement possession, and the extraction from that property of electronically stored

information described in Attachment B.

      2.     I am a Special Agent with the Federal Bureau of Investigation (FBI) and

have been since June of 2023. Since June of 2023, I have been assigned to the FBI’s

Milwaukee Area Safe Streets Task Force (MASSTF), a multi-jurisdictional law

enforcement entity charged with investigating violations of federal law, including

narcotics trafficking and conspiracy to possess narcotics with intent to distribute, as

defined under Title 21 of the United States Code. I have been trained in a variety of

investigative and legal matters, including the topics of Fourth Amendment searches, the

drafting of search warrant affidavits, and probable cause. I have participated in criminal

investigations, surveillance, search warrants, interviews, and debriefs of arrested

subjects. As a result of this training and investigative experience, I have learned how and

why narcotics traffickers typically conduct various aspects of their criminal activities. I

have experience in the investigation of individuals involved in federal criminal offenses,

the use of cellular devices to commit those offenses, and the available technology that can


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be used by law enforcement to assist in identifying the users of cellular devices and their

location.

       3.       The facts in this affidavit come from my personal observations, training,

experience, and information obtained from other agents, law enforcement officers and

witnesses. This affidavit is intended to show merely that there is sufficient probable cause

for the requested warrant and does not set forth all my knowledge about this matter.

                    IDENTIFICATION OF THE DEVICE TO BE EXAMINED

       4.       The properties to be searched are as follows:

               a. Apple iPhone 15 Pro - IMEI: 352400477209551, hereinafter, TARGET
                  DEVICE 1; and

               b. Apple iPhone 15 Pro – IMEI: 354070966587706, hereinafter, TARGET
                  DEVICE 2.

       5.       TARGET DEVICES 1 and 2, or the TARGET DEVICES, are currently

located within the custody of Kenosha County Sheriff’s Department, located at 1000 55th

Street #1, Kenosha, WI.

       6.       The applied-for warrant would authorize the forensic examination of the

TARGET DEVICES for the purpose of identifying electronically stored data particularly

described in Attachment B.

                                       PROBABLE CAUSE

      7.        In 2023, law enforcement officers of the FBI Milwaukee Safe Street Task

Force began investigating Rosendo HEREDIA (“HEREDIA”) for narcotics trafficking, in

violation of Title 21, United States Code, Sections 841(a)(1) and 846.




                                                 2

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      8.        HEREDIA associates with members of a sub-set of the Burleigh Zoo Family

street gang. Evidence gathered to date reflects that the Burleigh Zoo Family are a violent

street gang and that many of its members are heavily involved in trafficking illegal drugs

throughout the City and County of Milwaukee. Burleigh Zoo Family member and self-

proclaimed rapper, Justin Loyde, produced a song, “Make A Way” along with a music

video featuring numerous members of Burleigh Zoo Family and HEREDIA. The lyrics of

the song contain references to firearms equipped with auto SEARs and drug trafficking

in kilogram quantities of narcotics. In the music video a gold-plated money counter

machine can be observed while Loyde states that he is, “busting down bricks of yay.”

Case agents understand Loyde’s statement to be a reference to the cutting and mixing of

cocaine powder derived from pressed-kilograms or “bricks” with various adulterant

agents to increase the profit margin of the narcotics on the street. Case agents know that

drug traffickers regularly use money counters to reconcile cash proceeds stemming from

drug trafficking. In the song, Loyde challenges others to go “brick for brick” with him,

referencing Loyde’s supply of kilogram amounts of narcotics to be more substantial than

other drug traffickers’ narcotics supply.

      9.        The investigation has led case agents to believe that HEREDIA is a source

of supply for Burleigh Zoo Family’s narcotics. Financial analysis of HEREDIA’s accounts

indicated irregular and non-standard banking methods. For example, HEREDIA’s

account with American Express depicts habitually excessive spending that exceeded an

average of $25,000 a year on purchases exclusively from the luxury brand Louis Vuitton,

totaling approximately $112,322.99 between February 26, 2019, and July 17, 2023. The

                                                3

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numerous charges to the American Express account range from hotel rooms in San Diego,

Chicago, and Las Vegas, to luxury department store purchases at Saks, specifically at

locations in New York and Las Vegas. HEREDIA’s payment methods to American

Express account are also unusual. HEREDIA’s account regularly receives payment in

similar successive money orders within the same day. Between March 11, 2022, and June

16, 2023, American Express received approximately 103 money orders, totaling $97,974

for payment to the American Express account used by HEREDIA. Case agents believe

that the irregularity of HEREDIA’s banking methods, and specifically the use of

successive money orders, is indicative of the attempt to conceal the origin of the money.

The financial analysis of HEREDIA’s known bank accounts further corroborates that

HEREDIA is a known wholesale supplier of cocaine powder and heroin and has become

heavily involved in suppling narcotics to members of the Burleigh Zoo Family.

      10.    In December 2023, the Kenosha County Sheriff’s Department recovered a

stolen Dodge Durango. The subject operating the stolen Dodge Durango was taken into

custody and identified via his WI Photo driver’s license as Rosendo HEREDIA (DOB:

xx/xx/1972). Investigators conducted an interview of HEREDIA regarding his

possession of the stolen automobile. HEREDIA voluntarily provided information about

the vehicle in his possession and the details of how he purchased the vehicle. At the time

of his custody, HEREDIA’s three cellphones, including TARGET DEVICES 1 and 2, were

taken as evidence for the investigation into the stolen automobiles. HEREDIA provided

passwords for two of the three cellphones but denied consent for the cellphones to be

searched.

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      11.    In January 2024, the Kenosha County Sheriff’s Department obtained search

warrants for the three phones recovered from HEREDIA. Two phones, TARGET

DEVICES 1 and 2, were able to be extracted for forensic examination.

      12.    During a cursory examination of TARGET DEVICE 1, law enforcement

observed several text messages that were sent to numbers without contact names stating,

“872-289-9724 new work number Pablo.” The forensic examination of TARGET DEVICE

2 revealed the device used an Apple ID listing to Pablo Lopez and an email address of

pabolopez19831970@icloud.com. The contact card for TARGET DEVICE 2 listed Pablo

Lopez, phone numbers 346-586-3977 and 872-283-9124 along with the same email used

for the iCloud account.

      13.    Investigators are aware that HEREDIA uses numerous aliases or nicknames

during his interactions with members of the Burleigh Zoo Family, including “Pablo.”

      14.    Based on their training and experience, case agents know that individuals

engaged in drug trafficking may switch telephone numbers on a frequent basis to avoid

detection by law enforcement. Additionally, case agents believe that the reference to

“work” in the text messages observed and detailed above is a reference to HEREDIA’s

illegal drug business. Therefore, case agents believe based on their training and

experience that HEREDIA used TARGET DEVICE 1 to conduct his narcotics trafficking,

and that upon getting a new phone number (TARGET DEVICE 2), he advised his drug

associates of the new phone number to continue drug business.

      15.    A cursory review of TARGET DEVICE 1 also revealed a photograph of a

firearm in a case with magazines from “Mac1,” with the telephone number (414) 213-

                                             5

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6882. Based on this investigation, this phone number is believed to be used by Kwan

WILSON, a drug trafficking associate of HEREDIA’s and another member of the Burleigh

Zoo Family street gang. The photograph was accompanied by a text message to

HEREDIA indicating the firearm was a 40 Glock 22, and someone was asking for “8.”

Without reviewing the entirety of messages between HEREDIA and the person believed

to be WILSON, case agents believe that WILSON asked HEREDIA for 8 of this specific

model firearm for purchase. According to Wisconsin court records, HEREDIA and

WILSON are convicted felons and are therefore prohibited from possessing firearms. See

State of Wisconsin v. Rosendo Heredia, Racine County Case Number 2005CF1265, and State

of Wisconsin v. Kwan Wilson, Milwaukee County Case Number 2018CF85.

      16.    A cursory review of TARGET DEVICE 2 revealed text communications

originating on November 26, 2023, between HEREDIA and the number (262) 933-9692

with the contact name “Wank.” The conversation discusses apparent plans for meeting

up for a night out. Then HEREDIA asked, “Did you leave Chicago yet?” “Wank” replied

with a photograph and the caption, “Finishing.” “Wank” sent a photograph sent along

with the text message that depicted a cocaine press on a table with white powder residue,

which case agents believe to be narcotics. Based on the photograph, case agents believe

“Wank” indicated to HEREDIA that “Wank” had not left Chicago yet because “Wank”

was manufacturing controlled substances using the press depicted in the picture s/he

sent HEREDIA.

      17.    Text communications originating on November 25, 2023, were observed on

TARGET DEVICE 2 between HEREDIA and the number (414) 998-9536 with the contact

                                              6

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name “Magoo.” The conversation began on November 25, 2023, with HEREDIA sending

“Magoo” the text stating, “New Number Pablo.” The following day, HEREDIA sent a

message at 7:37 p.m., statin: “yo yo”; “just a sample”; and “10pc nugget.” “Magoo”

responded with “ok.” At 9:17 p.m., HEREDIA messaged “Magoo” saying: “Way”; “Yo

yo”; “35 best I can do so 875 for 25.” On November 27, 2023, HEREDIA messaged

“Magoo” stating, “Ready when you are.” “Magoo” replied that he needed to see his “p

o” and told HEREDIA to arrive after 5. HEREDIA then stated that he had a flight at 4

p.m. and would be out of town. HEREDIA added, “Tell bro work with them 10 it’s the

same as 25 so I know what’s up when I get back.” Based on their training and experience,

case agents believe this conversation to be regarding the purchasing of specific weights

of narcotics using the code “nugget” in place of the narcotics.

      18.      The TARGET DEVICES are currently in the lawful possession of the

Kenosha County Sheriff’s Department. They came into Kenosha County Sheriff’s

possession after HEREDIA was arrested pursuant to the traffic stop of the stolen

automobile. A warrant was obtained for the search of the TARGET DEVICES. Therefore,

while the FBI might already have the necessary authority to examine the TARGET

DEVICES, because the Kenosha County Sheriff’s Department’s focus was on the stolen

automobile, I seek this additional warrant out of an abundance of caution to be sure that

an examination of the TARGET DEVICES will comply with the Fourth Amendment and

other applicable laws.

         19.     The TARGET DEVICES are currently in storage at 1000 55th Street #1,

  Kenosha, WI. In my training and experience, I know that the TARGET DEVICES have

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  been stored in a manner in which their contents are, to the extent material to this

  investigation, in substantially the same state as they were when the TARGET

  DEVICES first came into the possession of the Kenosha County Sheriff’s Department.

         20.     As a result of my training and experience, I know that drug dealers and

  criminals use cellular phones to conduct their business and plan crimes. I am also

  aware that cellular telephones provide narcotics traffickers and criminals with mobile

  access and control over their illegal trade. They often use cellular telephones to

  communicate with one another in furtherance of their activities. I am also aware that

  drug dealers and criminals use multiple cellular telephones to try and thwart law

  enforcement from uncovering their illegal activity. I am also aware that individuals

  engaged in illegal activities take pictures using their cellular phones of themselves with

  narcotics and firearms. I know cell phones frequently retain information for long

  periods of time, including retaining call histories, text messages, voicemail messages,

  photographs, internet history, GPS location, and other information that can be

  retrieved from the cell phone even long after the cell phone ceased to be used. If unused

  and unaltered, like the TARGET DEVICES in this case, data can remain indefinitely.

      21.      Based on my training and experience, I believe that the evidence

recovered/observed during law enforcement officers’ initial examination of the

TARGET DEVICES following HEREDIA’s arrest in a stolen automobile demonstrates

that HEREDIA is involved in drug trafficking. I also believe HEREDIA maintained

ownership and/or control over the TARGET DEVICES.



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      22.    Additionally, based upon the facts described above, I believe that

HEREDIA used the TARGET DEVICES to facilitate controlled substances transactions

and they are likely to contain evidence of drug trafficking, which may likely be stored

and recorded on the TARGET DEVICES. More particularly, I believe that there is

probable cause to believe that a search of the information contained within the TARGET

DEVICES described above will produce evidence of a crime, namely evidence related to

the possession and trafficking of controlled substances.

                                 TECHNICAL TERMS

         23. Based on my training and experience, I use the following technical terms to

  convey the following meanings:

            a. Wireless telephone: A wireless telephone (or mobile telephone, or
               cellular telephone) is a handheld wireless device used for voice and data
               communication through radio signals. These telephones send signals
               through networks of transmitter/receivers, enabling communication
               with other wireless telephones or traditional “land line” telephones. A
               wireless telephone usually contains a “call log,” which records the
               telephone number, date, and time of calls made to and from the phone.
               In addition to enabling voice communications, wireless telephones offer
               a broad range of capabilities. These capabilities include: storing names
               and phone numbers in electronic “address books;” sending, receiving,
               and storing text messages and e-mail; taking, sending, receiving, and
               storing still photographs and moving video; storing and playing back
               audio files; storing dates, appointments, and other information on
               personal calendars; and accessing and downloading information from
               the Internet. Wireless telephones may also include global positioning
               system (“GPS”) technology for determining the location of the device.

            b. Digital camera: A digital camera is a camera that records pictures as
               digital picture files, rather than by using photographic film. Digital
               cameras use a variety of fixed and removable storage media to store their
               recorded images. Images can usually be retrieved by connecting the
               camera to a computer or by connecting the removable storage medium
               to a separate reader. Removable storage media include various types of

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       flash memory cards or miniature hard drives. Most digital cameras also
       include a screen for viewing the stored images. This storage media can
       contain any digital data, including data unrelated to photographs or
       videos.

    c. Portable media player: A portable media player (or “MP3 Player” or
       iPod) is a handheld digital storage device designed primarily to store and
       play audio, video, or photographic files. However, a portable media
       player can also store other digital data. Some portable media players can
       use removable storage media. Removable storage media include various
       types of flash memory cards or miniature hard drives. This removable
       storage media can also store any digital data. Depending on the model,
       a portable media player may have the ability to store very large amounts
       of electronic data and may offer additional features such as a calendar,
       contact list, clock, or games.

    d. GPS: A GPS navigation device uses the Global Positioning System to
       display its current location. It often contains records the locations where
       it has been. Some GPS navigation devices can give a user driving or
       walking directions to another location. These devices can contain records
       of the addresses or locations involved in such navigation. The Global
       Positioning System (generally abbreviated “GPS”) consists of 24
       NAVSTAR satellites orbiting the Earth. Each satellite contains an
       extremely accurate clock. Each satellite repeatedly transmits by radio a
       mathematical representation of the current time, combined with a special
       sequence of numbers. These signals are sent by radio, using
       specifications that are publicly available. A GPS antenna on Earth can
       receive those signals. When a GPS antenna receives signals from at least
       four satellites, a computer connected to that antenna can mathematically
       calculate the antenna’s latitude, longitude, and sometimes altitude with
       a high level of precision.

    e. PDA: A personal digital assistant, or PDA, is a handheld electronic
       device used for storing data (such as names, addresses, appointments, or
       notes) and utilizing computer programs. Some PDAs also function as
       wireless communication devices and are used to access the Internet and
       send and receive e-mail. PDAs usually include a memory card or other
       removable storage media for storing data and a keyboard and/or touch
       screen for entering data. Removable storage media include various types
       of flash memory cards or miniature hard drives. This removable storage
       media can store any digital data. Most PDAs run computer software,
       giving them many of the same capabilities as personal computers. For
       example, PDA users can work with word-processing documents,

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             spreadsheets, and presentations. PDAs may also include global
             positioning system (“GPS”) technology for determining the location of
             the device.

          f. IP Address: An Internet Protocol address (or simply “IP address”) is a
             unique numeric address used by computers on the Internet. An IP
             address is a series of four numbers, each in the range 0-255, separated by
             periods (e.g., 121.56.97.178). Every computer attached to the Internet
             computer must be assigned an IP address so that Internet traffic sent
             from and directed to that computer may be directed properly from its
             source to its destination. Most Internet service providers control a range
             of IP addresses. Some computers have static—that is, long-term—IP
             addresses, while other computers have dynamic—that is, frequently
             changed—IP addresses.

          g. Internet: The Internet is a global network of computers and other
             electronic devices that communicate with each other. Due to the
             structure of the Internet, connections between devices on the Internet
             often cross state and international borders, even when the devices
             communicating with each other are in the same state.

      24. Based on my training, experience, and research, I know that the TARGET

DEVICES have capabilities that allow it to serve as a wireless telephone, digital

camera, portable media player, GPS navigation device, and PDA. In my training and

experience, examining data stored on devices of this type can uncover, among other

things, evidence that reveals or suggests who possessed or used the device.

              ELECTRONIC STORAGE AND FORENSIC ANALYSIS

      25. Based on my knowledge, training, and experience, I know that electronic

devices can store information for long periods of time. Similarly, things that have been

viewed via the Internet are typically stored for some period of time on the device. This

information can sometimes be recovered with forensics tools.




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      26. Forensic evidence. As further described in Attachment B, this application

seeks permission to locate not only electronically stored information that might serve

as direct evidence of the crimes described on the warrant, but also forensic evidence

that establishes how the TARGET DEVICES were used, the purpose of their use, who

used them, and when. There is probable cause to believe that this forensic electronic

evidence might be on the TARGET DEVICES because:

          a. Data on the storage medium can provide evidence of a file that was once
             on the storage medium but has since been deleted or edited, or of a
             deleted portion of a file (such as a paragraph that has been deleted from
             a word processing file).

          b. Forensic evidence on a device can also indicate who has used or
             controlled the device. This “user attribution” evidence is analogous to
             the search for “indicia of occupancy” while executing a search warrant
             at a residence.

          c. A person with appropriate familiarity with how an electronic device
             works may, after examining this forensic evidence in its proper context,
             be able to draw conclusions about how electronic devices were used, the
             purpose of their use, who used them, and when.

          d. The process of identifying the exact electronically stored information on
             a storage medium that are necessary to draw an accurate conclusion is a
             dynamic process. Electronic evidence is not always data that can be
             merely reviewed by a review team and passed along to investigators.
             Whether data stored on a computer is evidence may depend on other
             information stored on the computer and the application of knowledge
             about how a computer behaves. Therefore, contextual information
             necessary to understand other evidence also falls within the scope of the
             warrant.

          e. Further, in finding evidence of how a device was used, the purpose of its
             use, who used it, and when, sometimes it is necessary to establish that a
             particular thing is not present on a storage medium.

          f. Internet: The Internet is a global network of computers and other
             electronic devices that communicate with each other. Due to the

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             structure of the Internet, connections between devices on the Internet
             often cross state and international borders, even when the devices
             communicating with each other are in the same state.

      27. Nature of the examination. Based on the foregoing, and consistent with

Rule 41(e)(2)(B), the warrant I am applying for would permit the examination of the

TARGET DEVICES consistent with the warrant. The examination may require

authorities to employ techniques, including but not limited to computer-assisted scans

of the entire medium, that might expose many parts of the TARGET DEVICES to

human inspection in order to determine whether it is evidence described by the

warrant.

      28. Manner of execution. Because this warrant seeks only permission to

examine the devices already in law enforcement’s possession, the execution of this

warrant does not involve the physical intrusion onto a premises. Consequently, I

submit there is reasonable cause for the Court to authorize execution of the warrant at

any time in the day or night.

               CONCLUSION AND DELAYED NOTICE REQUEST

      29. I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the TARGET DEVICES described in Attachment A to

seek the items described in Attachment B.

      30.    I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of

Criminal Procedure 41(f)(3), that the Court authorize the officer executing the warrant

to delay notice until 180 days after the collection authorized by the warrant has been

completed. This delay is justified because there is reasonable cause to believe that

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providing immediate notification of the warrant may have an adverse result, as

defined in 18 U.S.C. § 2705. Providing immediate notice to the owner or user of the

TARGET DEVICES would seriously jeopardize the ongoing investigation, as such a

disclosure would give that person an opportunity to destroy evidence, change patterns

of behavior, notify confederates, and flee from prosecution. See 18 U.S.C. § 3103a(b)(1).

There is reasonable necessity for the use of the technique described above, for the

reasons set forth above. See 18 U.S.C. § 3103a(b)(2).




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                                     ATTACHMENT A

     The properties to be searched are as follows:

            a. Apple iPhone 15 Pro - IMEI: 352400477209551, hereinafter, TARGET
               DEVICE 1; and

            b. Apple iPhone 15 Pro – IMEI: 354070966587706, hereinafter, TARGET
               DEVICE 2.

     TARGET DEVICES 1 and 2, or the TARGET DEVICES, are currently located within

the custody of Kenosha County Sheriff’s Department, located at 1000 55th Street #1,

Kenosha, WI.

     This warrant authorizes the forensic examination of the TARGET DEVICES for the

purpose of identifying the electronically stored information described in Attachment B.




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                                        ATTACHMENT B

       1.       All records on the TARGET DEVICES described in Attachment A that

relate to violations of 21 U.S.C. §§ 841 and 846, and involve Rosendo HEREDIA, from

2014 – Present, including, but not limited to:

            a. Lists of customers and related identifying information:

            b. Types, amounts, and prices of drugs and firearms trafficked as well as
               dates, places, and amounts of specific transactions;

            c. Any information related to co-conspirators and sources of drugs and
               firearms (including names, addresses, phone numbers, or any other
               identifying information);

            d. Any information recording schedule or travel;

            e. All bank records, checks, credit card bills, account information, and other
               financial records;

            f. Photographs and/or videos depicting possession of drugs and firearms;

            g. Any evidence related to either the ownership, purchase, or possession of
               drugs and firearms;

            h. Records of Internet activity, including browser history, search terms that
               the user entered into any Internet search engine, and records of user-typed
               web addresses: and

            i. All data, communications, information, and records, in whatever form, that
               have any tendency to establish the actual or intended physical location of
               its user, or that of any of their associates involved in criminal activity, as
               well as the physical location of the TARGET DEVICES;

       2.       Evidence of user attribution showing who used or owned the TARGET

DEVICES at the time the things described in the warrant were created, edited, or

deleted, such as logs, phonebooks, saved usernames and passwords, documents, and

browsing history;

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       3.     As used above, the terms “records” and “information” include all of the

foregoing items of evidence in whatever form and by whatever means they may have

been created or stored, including any form of computer or electronic storage (such as

flash memory or other media that can store data) and any photographic form.

              This warrant authorizes a review of electronic storage media and

electronically stored information seized or copied pursuant to this warrant in order to

locate evidence, fruits, and instrumentalities described in this warrant. The review of this

electronic data may be conducted by any government personnel assisting the

investigation, who may include, in addition to law enforcement officers and agents,

attorneys for the government, attorney support staff, and technical experts. Pursuant to

this warrant, the FBI may deliver a complete copy of the seized or copied electronic data

to the custody and control of attorneys for the government and their support staff for

their independent review.




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